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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                               Chapter 11

AMERICAN PHYSICIAN PARTNERS, LLC, et al.,1                           Case No. 23-11469 (BLS)

                                   Debtor.                           (Jointly Administered)

                                                                     Re: Docket No. 820



  AMENDED2 NOTICE OF AGENDA FOR HEARING SCHEDULED ON JANUARY 9,
  2024 AT 10:00 A.M. (PREVAILING EASTERN TIME), BEFORE THE HONORABLE
  BRENDAN L. SHANNON AT THE UNITED STATES BANKRUPTCY COURT FOR
   THE DISTRICT OF DELAWARE, LOCATED AT 824 NORTH MARKET STREET,
       6TH FLOOR, COURTROOM NO. 1, WILMINGTON, DELAWARE 19801


                       THIS HEARING WILL BE CONDUCTED IN PERSON.
    Remote appearances at in-person court proceedings are allowed only in the following
   circumstances: i. Counsel for a party or a pro se litigant files a responsive pleading and
            intends to make only a limited argument; ii. A party or a representative
    of a party is interested in observing the hearing; iii. A party is proceeding in a claims
       allowance dispute on a pro se basis; iv. An individual has a good faith reason to
          participate remotely and has obtained permission from chambers to do so;
           or v. Other extenuating circumstances that warrant remote participation
                               as may be determined by the Court.
     To attend this hearing remotely, please register using the eCourt Appearance tool at
     https://ecf.deb.uscourts.gov/cgi-bin/nysbAppearances.pl or on the Court’s website at
                                     www.deb.uscourts.gov
   The deadline to register for remote attendance is 4 PM (prevailing Eastern Time) the
    business day before the hearing. An electronic invitation, with the relevant audio or
 video link, will be emailed to you prior to the hearing. Please do not contact the Court to
                                    confirm registration.




1 A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of
American Physician Partners, LLC’s principal place of business and the Debtors’ service address in these
Chapter 11 Cases is 5121 Maryland Way Suite 300 Brentwood, TN 37027.
2 Amended items are indicated in bold.




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         MATTERS UNDER CERTIFICATION OF COUNSEL OR CERTIFICATE OF
         NO OBJECTION:

1.       Debtors' Seventh Omnibus Motion Seeking Entry of an Order (I) Authorizing the
         Rejection of (A) Certain Unexpired Leases and (B) Certain Executory Contracts, Each
         Effective as of the Specified Rejection Date, (II) Authorizing Abandonment of Certain
         Personal Property, Effective as of the Specified Rejection Date, and (III) Granting
         Related Relief [Filed: 10/23/23] (Docket No. 259)

         Response Deadline: November 6, 2023 at 4:00 p.m. (ET)

         Responses Received:

         A.        Ozburn & Company, LLC and Ozburn & Company General Partnership's
                   Objection to Debtors’ Seventh Omnibus Motion Seeking Entry of an Order (I)
                   Authorizing the Rejection of (A) Certain Unexpired Leases and (B) Certain
                   Executory Contracts [Filed: 11/6/23] (Docket No. 446)

         Related Documents:

         A.        Amended Notice of Hearing on Debtors' Seventh Omnibus Motion Seeking Entry
                   of an Order (I) Authorizing the Rejection of (A) Certain Unexpired Leases and
                   (B) Certain Executory Contracts, Each Effective as of the Specified Rejection
                   Date, (II) Authorizing Abandonment of Certain Personal Property, Effective as of
                   the Specified Rejection Date, and (III) Granting Related Relief [Filed: 11/2/23]
                   (Docket No. 439)

         B.        Certification of Counsel Debtors' Seventh Omnibus Motion Seeking Entry of an
                   Order (I) Authorizing the Rejection of (A) Certain Unexpired Leases and (B)
                   Certain Executory Contracts, Each Effective as of the Specified Rejection Date, (II)
                   Authorizing Abandonment of Certain Personal Property, Effective as of the
                   Specified Rejection Date, and (III) Granting Related Relief [Filed: 11/27/23]
                   (Docket No. 489)

         C.        Seventh Omnibus Order (I) Authorizing the Rejection of (A) Certain
                   Unexpired Leases and (B) Certain Executory Contracts, Each Effective as of
                   the Specified Rejection Date, (II) Authorizing Abandonment of Certain
                   Personal Property, Effective as of the Specified Rejection Date, and (III)
                   Granting Related Relief [Filed: 12/12/23] (Docket No. 661)

         Status: The objection of Ozburn & Company, LLC has been resolved subject to
         documentation. The parties are negotiating a stipulation and will file a certification of
         counsel once the stipulation is finalized.

2.       Debtors’ Motion to Enlarge the Period to Remove Actions [Filed: 12/15/23] (Docket No.
         672)

         Response Deadline: December 29, 2023 at 4:00 p.m. (ET)



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         Responses Received: None

         Related Documents:

         A.        Certificate of No Objection Regarding Debtors’ Motion to Enlarge the Period to
                   Remove Actions [Filed 1/4/24] (Docket No. 808)

         Status: A Certification of No Objection has been filed.

3.       Motion by Alexandria Viamille for Relief from the Automatic Stay [Filed: 12/15/23]
         (Docket No. 673)

         Response Deadline: December 29, 2023 at 4:00 p.m. (ET) (Extended to January 4, 2024
         at 4:00 p.m. (ET) for Debtors)

         Responses Received: None

         Related Documents:

         A.        Certification of Counsel Regarding Order Approving Stipulation Between
                   Debtors and Alexandria Viamille Regarding Relief from Automatic Stay
                   [Filed 1/5/24] (Docket No. 821)

         Status: A certification of counsel has been filed.

4.       Motion for Relief from the Automatic Stay pursuant to 11 U.S.C. § 362(d) To Permit
         Prosecution and Liquidation of Personal Injury and Loss of Consortium Lawsuit/Claims
         [Filed: 12/21/23] (Docket No. 688)

         Response Deadline: December 29, 2023 at 4:00 p.m. (ET) (Extended to January 4, 2024
         at 4:00 p.m. (ET) for Debtors)

         Responses Received: None

         Related Documents: None

         Status: The parties are negotiating a form of stipulation to lift the stay and expect to
         submit an order under certification of counsel.

         MATTERS GOING FORWARD:

5.       Amended Combined Disclosure Statement and Plan of Liquidation of American
         Physician Partners, LLC and ITS Affiliated Debtors Under Chapter 11 Bankruptcy Code
         [Filed: 10/30/23] (Docket No. 303)

         Response Deadline: November 22, 2023 at 4:00 p.m. (ET) (Extended to December 22,
         2023 at 4:00p.m. (ET))

         Responses Received:



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         A.        Informal Response from Jennie Stuart Medical Center, Inc.

         B.        Limited Objection and Reservation of Rights Regarding Debtors Amended
                   Combined Disclosure Statement and Plan of Liquidation of American Physician
                   Partners, LLC and ITS Affiliated Debtors Under Chapter 11 Bankruptcy Code
                   [Filed 12/7/23] (Docket No. 639)

         C.        Limited Objection of Cascade Capital Funding, LLC, to Confirmation of the
                   Amended Chapter 11 Combined Plan and Disclosure Statement [Filed 12/7/23]
                   (Docket No. 641)

                   i.           Notice of Withdrawal of Limited Objection of Cascade Capital
                                Funding LLC to Confirmation of the Amended Ch. 11 Combined
                                Plan and Disclosure Statement [Filed 12/27/23] (Docket No. 699)

         D.        The New Mexico Plaintiffs' Preliminary Response and Reservation of Rights in
                   Connection with Debtors Plan [Filed 12/7/23] (Docket No. 642)

         E.        Limited Objection to Confirmation of the Amended Combined Disclosure
                   Statement and Plan of Liquidation of American Physician Partners, LLC and its
                   Affiliated Debtors Under Chapter 11 of the Bankruptcy Code [Filed 12/20/23]
                   (Docket No. 687)

         F.        Objection To Confirmation Of Plan By The United States To Amended
                   Combined Disclosure Statement And Plan Of Liquidation Of American Physician
                   Partners, LLC And Its Affiliated Debtors Under Chapter 11 Of The Bankruptcy
                   Code [Filed 12/21/23] (Docket No. 690)

         Related Documents:

         A.        Chapter 11 Combined Plan & Disclosure Statement of American Physician
                   Partners, LLC and It's Affiliated Debtors [Filed 9/19/23] (Docket No. 17)

         B.        Notice of Filing of Blackline of Amended Combined Disclosure Statement and
                   Plan of Liquidation [Filed 10/30/23] (Docket No. 304)

         C.        Amended Combined Disclosure Statement and Plan of Liquidation of American
                   Physician Partners, LLC and its Affiliated Debtors Under Chapter 11 of the
                   Bankruptcy Code [Filed 11/9/23] (Docket No. 455)

         D.        Certification of Counsel Related to Stipulated Scheduling Order With Respect to
                   Confirmation Plan [Filed 11/13/23] (Docket No. 460)

         E.        Stipulated Scheduling Order With Respect to Confirmation of Plan [Filed
                   11/14/23] (Docket No. 461)




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         F.        Notice of Rescheduled Hearing on the Combined Disclosure Statement and
                   Plan of Liquidation of American Physician Partners, LLC and ITS Affiliated
                   Debtors Under Chapter 11 Bankruptcy Code [Filed: 12/6/23] (Docket No. 637)

         G.        Notice of Rescheduled Confirmation Hearing from January 5, 2024 at 10:00 A.M.
                   (Eastern Time) to January 9, 2024 at 10:00 A.M. [Filed: 12/22/23] (Docket No.
                   692)

         H.        Notice of Rescheduling Additional Deadlines Related to Confirmation of
                   Combined Plan [Filed: 12/26/23] (Docket No. 698)

         I.        Second Amended Combined Disclosure Statement and Plan of Liquidation of
                   American Physician Partners, LLC and Its Affiliated Debtors Under Chapter 11 of
                   the Bankruptcy Code [Filed 1/2/24] (Docket No. 805)

         J.        Notice of Filing of Blackline of Second Amended Combined Disclosure
                   Statement and Plan of Liquidation [Filed 1/2/24] (Docket No. 806)

         K.        Notice of Filing Modified Plan Supplement for the Combined Disclosure
                   Statement and Plan of Liquidation of American Physician Partners, LLC and Its
                   Affiliated Debtors Under Chapter 11 of the Bankruptcy Code [Filed 1/2/24]
                   (Docket No. 807)

         L.        Declaration of Stephenie Kjontvedt of Epiq Corporate Restructuring, LLC
                   Regarding the Solicitation and Tabulation of Ballots Cast on the Amended
                   Combined Disclosure Statement and Plan of Liquidation of American Physician
                   Partners, LLC and Its Affiliated Debtors Under Chapter 11 of the Bankruptcy
                   Code [Filed 1/4/24] (Docket No. 813)

         M.        Memorandum of Law in Support of Final Approval of Disclosure Statement and
                   Confirmation of Plan of Liquidation of American Physician Partners and its
                   Affiliated Debtors Under Chapter 11 of the Bankruptcy Code, and Omnibus
                   Reply to Objections [Filed 1/4/24] (Docket No. 814)

         N.        Declaration of John C. DiDonato in Support of Confirmation of the Combined
                   Disclosure Statement and Plan of Liquidation of American Physician Partners,
                   LLC and Its Affiliated Debtors Under Chapter 11 of the Bankruptcy Code [Filed
                   1/4/24] (Docket No. 815)

         O.        Notice of Filing Liquidation Analysis Related to Second Amended Combined
                   Disclosure Statement and Plan of Liquidation of American Physician
                   Partners, LLC and Its Affiliated Debtors Under Chapter 11 of the
                   Bankruptcy Code [Filed 1/5/24] (Docket No. 822)

         P.        Notice of Filing Proposed Confirmation Order [Filed 1/5/24] (Docket No.
                   823)APP - Notice of Amended Agenda for 1-9-24 Hearing 4883-3566-7354
                   v.2.docx




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         Status: This matter is going forward.

6.       Debtors’ Motion for Entry of Order (I) Authorizing (A) Private Sale and (B) Transfer of
         Certain Accounts Receivable Free and Clear of Liens, Claims, Encumbrances, and
         Interests; (II) Approving the Terms of The Account Purchase Agreement; and (III)
         Granting Related Relief [Filed: 12/15/23] (Docket No. 677)

         Response Deadline: December 29, 2023 at 4:00 p.m. (ET)

         Responses Received:

         A.        Limited Objection to Debtors' Motion for Entry of Order (I) Authorizing (A)
                   Private Sale and (B) Transfer of Certain Accounts Receivable Free and Clear of
                   Liens, Claims, Encumbrances, And Interests; (II) Approving the Terms of the
                   Account Purchase Agreement; and (III) Granting Related Relief [Filed 12/29/23]
                   (Docket No. 701)

         Related Documents:

         A.        Notice of Hearing on Debtors’ Motion for Entry of Order (I) Authorizing (A)
                   Private Sale and (B) Transfer of Certain Accounts Receivable Free and Clear of
                   Liens, Claims, Encumbrances, and Interests; (II) Approving the Terms of The
                   Account Purchase Agreement; and (III) Granting Related Relief [Filed: 12/15/23]
                   (Docket No. 678)

         Status: This matter is going forward. The Debtors intend to proffer the testimony of John
         C. DiDonato in support of the sale.



Dated: January 5, 2024                      PACHULSKI STANG ZIEHL & JONES LLP


                                            /s/ Laura Davis Jones
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